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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

________________________________
                                                   )
UNITED STATES OF AMERICA,                          )
                                                   ) Case No.
                                                   )
      v.                                           ) 1:20-cr-00114-WMR-CCB
                                                   )
DESIRE TAMAKLOE,                                   )
                                                   )
     Defendant.                                    )
_________________________________                  )


              DEFENDANT’S SENTENCING MEMORANDUM

      COMES NOW, the above named Defendant, by and through undersigned

counsel, and files his Sentencing Memorandum setting forth the various factors as

well as his points and authorities that he requests the Court to consider in

determining the appropriate sentence to impose in the instant case.

      The defense submits the instant Memorandum, which is largely biographical

in nature, for two purposes. One, Mr. Tamakloe would like the Court to understand

more about him and his background beyond what was included in the Presentence

Investigation Report. Two, Mr. Tamakloe would like the Court to consider the

sentencing factors pursuant to Title 18 U.S.C. § 3553(a) in determining what

sentence is appropriate for Mr. Tamakloe.

                                   INTRODUCTION
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      There is no question that this Honorable Court is keenly aware of the advisory

nature of the United States Sentencing Guidelines under current case law, and the

fact that the key to sentencing is reasonableness. See 18 U.S.C. § 3553, Kimbrough

v. United States, 552 U.S. 85-90-91 (2007); and Gall v. United States, 552 U.S. 38,

46 (2007). As this court knows well, there is no limitation on considerations

regarding the background, character and conduct of a defendant for the purpose of

imposing a sentence. See 18 U.S.C. § 3661. Indeed, this Honorable Court is provided

with substantial deference in weighing §3553 factors and granting a variance. See

e.g., United States v. Clay, 483 F.3d 739 (11th Cir. 2007); United States v. Gonzalez;

550 F.3d 1319 (11th Cir. 2008); United States v. Sarras, 575 F.3d 1191 (11th Cir.

2009); United States v. Irey, 612 F.3d 1160 (11th Cir. 2010)(en banc).

      Moreover, this Court is sufficiently informed that sentences must always

conform to the broad command of the parsimony principle, which requires that

sentences be “sufficient, but not greater than necessary” to comply with the four

identified purposes of sentencing. See, e.g., Dean v. United States, 147 S.Ct. 1170

(2017) quoting 18 U.S.C. § 3553(a). Accordingly, further analysis of these

fundamental principles and purposes of sentencing would not be helpful.

      However, it is important to remember that:

             [a]dditonal months in prison are not simply numbers. Those months
             have exceptionally severe consequences for the incarcerated
             individual. They also have consequences for both society, which bears
             the direct and indirect costs of incarceration and for the administration
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              of justice which must be at its best when, as here, the stakes are at
              their highest.

                                        United States v. Jenkins, 854 F.3d, 181, 192
                                        (2nd Cir. 2017) Parker, CJ


                  II. DESIRE TAMAKLOE’S BACKGROUND

      Mr. Tamakloe is a devoted father to his children (none of which are his

biologically) and a mentor and father figure to several children in the community.

Just about every character letter attached to this memorandum has a story about

Desire understanding and taking accountability of his actions, learning from this

conduct, being an outstanding father, and helping children learn the art of boxing,

and helping others. (See Exhibits 1-22). Desire is a devoted coach and teacher to

several young people in the community who count on him for guidance and

mentorship.
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      This court will see the numerous letters attached as Exhibits 1-22 to this

Sentencing Memorandum and the reputation and character of Desire Tamakloe

outside of his criminal conduct, for which he accepts full responsibility. Many of the

letters mention time and again how Mr. Tamakloe is a wonderful father to his

children. This is important for the Court’s consideration because Mr. Tamakloe does

not have any biological children of his own. But Mr. Tamakloe has taken several
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young people under his wings and has served as such a father figure that he created

no distinction for the children that he is helping to raise. He treats his responsibility

to help educate, mold, raise and take care of the children as seriously as if he were

their own father. That is why so many people around Mr. Tamakloe talk about his

dedication to “his children.” This demonstrable character trait helps contextualize

the notion that people are complex. Despite his good deeds and caring heart for

children that are not his own, Mr. Tamakloe admits that he made a horrible mistake

in participating in the scheme that lands him before this Court.

      Mr. Tamakloe realizes the seriousness of his offense and that the resulting

harm warrants imprisonment. He cannot escape that reality. During the time he is

serving incarceration, Mr. Tamakloe will be separated from those children who he

loves dearly and who has counted on his guidance and support. Moreover, Mr.

Tamakloe has suffered significant harm to his reputation and he understands that his

freedom will be lost. Mr. Tamakloe recognizes that he brought this own himself. Mr.

Tamakloe is prepared to accept responsibility and plead for mercy.

                             II. Acceptance of Responsibility

      A guilty plea is often “the first step towards rehabilitation.” U.S. Sentencing

Commission, Preliminary Draft of Sentencing Guidelines §B321 (Sept. 1986); see

also Brady v. United States, 397 U.S. 742, 753 (1969). Courts look to an offender’s

level of contrition and remorse. See e.g. United States v. Cook, 922 F.2d 1026, 1027
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(2nd Cir. 1990)(“acceptance of responsibility necessitates candor and remorse”);

United States v. Eyder, 67 F.3d 1386 (9th Cir. 1995)(“[T]he key inquiry for purpose

of (acceptance) is whether the defendant has demonstrated contrition. . .”); United

States v. Hill, 911 F.2d 129, 131 (8th Cir. 1990) (denial of adjustment for a defendant

who “did not express sorrow or state he wished he had not committed the crime”).

The reduction for acceptance of responsibility is intended to reward defendants who

express contrition for their wrongdoing and evidence a desire to reform their

conduct. See United States v. Williams, 627 F.3d 839, 844-45 (11th Cir. 2010).

      As this Court can see from the attached letters of colleagues, friends,

community leaders, and family, Mr. Tamakloe has taken responsibility for his

actions in this case, understands what he did was wrong, is prepared to accept his

fate from this court, and is determined to never be in this position again. Mr.

Tamakloe is deeply sorry for the hurt the case caused, he realizes the seriousness of

his actions and fully understands the role he played in facilitating this criminal

activity. He accepts responsibility and asks this court for leniency.

                     III. Home Confinement as a Condition of Bail

      It is well established under the law that Mr. Tamakloe is not entitled to any

credit towards his sentence for the period of time he has served on home confinement

as a condition of his bail. Rodriguez v. Lamar, 60 F.3d 745, 748 (11th Cir. 1995)

(holding that under Reno v. Koray, 515 U.S. 50, 58 (1995) time spent under house
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arrest did not qualify as “official detention” pursuant to §3585(b)). Mr. Tamakloe is

not asking for credit for the time he served in home incarceration, but rather asking

the Court to consider the home incarceration as it makes its determination on a

sentence that is “sufficient, but not greater than necessary” to fulfill the objective of

the four purposes of sentencing. Mr. Tamakloe, by his own fault has been under

home incarceration since April 26, 2021, approximately two years. (Tamakloe PSR

at 18.) In that time, Mr. Tamakloe had one minor violation of leaving the residence

without proper authorization on September 14, 2021. (Tamakloe PSR at 18). Mr.

Tamakloe had several bond violations in the first ten months of his pretrial release

but since home incarceration, he learned a very valuable lesson regarding his

freedom. He has had no further violations and has remained fully compliant. During

that period of home incarceration, he has shown deep remorse and come to grips

with what it means to not have freedom to move, travel, visit a friend, see a loved

one, go for a walk in the park, and to have to consistently answer to an officer.

      The goals of sentencing are to achieve justice, deterrence, incapacitation, and

rehabilitation. When the court looks at the significant change of behavior and post

offense conduct regarding Mr. Tamakloe’s home incarceration, it is obvious that

Tamakloe understands and got the message of what it meant to lose freedom. The

house incarceration clarified for him the seriousness of his actions, the consequences

he will face, and it put a firm desire in his being to never be in this position again,
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and to make good of any second chance he may receive. Mr. Tamakloe’ home

incarceration conduct provides evidence to this Court that there is no risk of

recidivism. The lesson has been learned. Mr. Tamakloe placed his own judgment

above the law in this case. He accepts that and requests mercy in this Court’s

determinative sentence.

      And in determining the sentence that is sufficient, but not greater than

necessary, the Court must essentially ask whether a more severe sentence would

achieve greater justice, deterrence, incapacitation, or rehabilitation. As the Second

Circuit has noted:

      “Sentencing, that is to say punishment, is perhaps the most difficult task of a
      trial court judge.” Jack B. Weinstein, Does Religion Have a Role in Criminal
      Sentencing? 23 Touro L. Rev. 539 (2007). While there are many competing
      considerations in every sentencing decision, a sentencing judge must have
      some understanding of “the diverse frailties of humankind.” See Woodson v.
      North Carolina, 428 U.S. 280, 304, 96 S. Ct. 2978, 49 L.Ed.2d 944 (1976)
      (plurality opinion). In deciding what sentence will be “sufficient, but not
      greater than necessary” to further the goals of punishment, 18 U.S.C. §
      3553(a), a sentencing judge must have generosity of spirit, that compassion
      which causes one to know what it is like to be in trouble and in pain. Guido
      Calabresi, What Makes a Judge Great: To A. Leon Higginbotham, Jr., 142 U.
      Pa. L. Rev. 523 (1993); see also Edward J. Devitt, Ten Commandments for
      the New Judge, 65 A.B.A. J. 574 (1979), reprinted in 82 F.R.D. 209 (1979)
      (Be kind. If we judges could possess but one attribute, it should be a kind and
      understanding heart. The bench is no place for cruel or callous people
      regardless of their other qualities and abilities. There is no burden more
      onerous than imposing sentence in criminal cases.”).

                          United States., v. Singh, 877 F.3d 107 (2nd Cir. 2017).
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  Respectfully submitted,

        This, the 14th Day of April 2023.


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